1~, Case 3:12--cr 01848- .]AH Document 175 Filed 02/19/14 Page|D. 953 Page 1 of 5

§Ao 2453 (cAsD) (11¢1». 1112) Judgment in a Cn'minal Case

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UNITED STATES DISTRICT COURT "* ~'iii' 2* iii 3 5 »

 

 

 

 
  
   

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AMEND ED ` 1 n
UNI'I`ED STATES OF AMERICA JUDGM]'L`NT IN A CRIMINAL CASE \ nrnm
v_ ~ (For Offenses Committed On or Ai’cer November l, 1987) ' '
T"'"esa R°s° '2 Case Number: l2-cr-01848»JAH'2
Michacl L Lipman §§ WD
Defmdant’s Attomey
REG[STRATION NO. `33981298 _ FEB 1 9 2014
Comection of Sentence for Clerical Mistake (Fed. R. Crim. P.36)(Custody Women's Camp, self- nd r dat91

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`i` EPUTY
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THE DEFENDANT:
l pleaded gunby m mum(S) One of the ludictment

m was found guilty on eount(s)

etter a plea cf not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offensc(s):

Count
mm Nature of Oi’fen§§ Num s
18:371; 28:2461(<:) Conspiracy to Commit Wire Fraud l

 

The defendant' ts sentencedas assprovided' 111 pages 2 through 5 of this judgment The sentence is imposed pursuant
to the Sentencing Reform Act of 19

'I`he defendant has been found not guilty on count(s)
g Count(s)

 

is n stem dismissed on the motion of the United States.

 

Assessment: SIOO.|]O.

No fine n Forfeiture pursuant to order filed , included herein.

IT IS GRDERED that the defendant shall notify the United States Attomey for this district within 30 days ofany change of name, residene_e,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. if ordered to pay restitution, the
defendant shall notify the court and United States Attomey ofany material change' m the defendants economic circumstances

JanuaryB, 2014
Dateof po `tionofS te

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U'N D STATES DISTRICT JUDGE

lZ-cr-01848-JAH-2

 

~,Case 3:12-_cr-01848-.]AH Document 175 Filed 02/19/14 Page|D.954 Page 20i5

AO 2453 (CASD) (Rcv. 1112) Judgment in a Criminal Caae
_cct - imprisonment

 
 
 

 

Judgmenll-Page -Z of 7 7 5
DEFENDANT; Teresa Rose -2 " "'”_' ""'"""‘"_""
CASE NUMBER= 12-¢1-01348-.11111.2
IMPRISONMEN T
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of -

Fitieen montha.

|:| Sentence imposed pursuant to Title 8 USC Section 1326(h}.

The court makes the following recommendations to the Bureau of Prisons:
The Court recommends custody be served at the Wornen's Camp in Phoenix, An'zona.

|_"_`! The defenth is remanded to the custody of the United States Marshal.

|:| The defendant shall surrender to the United States Marshal for this district

m at Ea.m. ij p.m. on

as notified by the United States Marshal.

 

 

|E The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
121 before renew rs, 2014 @ 2100 PM.
as notified by the_United States Marshal.
§ as notified by the Probation or Pretrial Services Ofiioe.

RETURN

1 have executed this judgment as follows:
Defendam delivered en (~)1 l iid 10 l ‘-/ to \/ f CLTZDQ\// / /-»C,
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7 at l b 12)0 , with a certified copy of this judgment

57%:1)1;~' STVGMWD

UNlTED S'i`ATBS MARSHAL

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12-cr-i]1848-JAH-2

ix Case 3:12-cr-01848-.]AH ' Document 175 Filed 02/19/14 Page|D.955 Pe\ige 3 015

AO 245B (CASD) (Rev. ll12) Judgrnent in a Criminai Case
sheer 3 -- supervised mims

_n __

Judgment-Pegc 3 cf 5 __

DEFENDANT: Teresa Rose -2
CASE NUMBERi 12-cr-01848-JAH-2

SUPERVISED RELEASE
Upon release from imprisonment, tiie defendant shall be on supervised release for a term of:

Three years.

The defendant shall r ort to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pr sons.

The defendant shall not commit another fcderal. state or local erirne.

For offenses committed orr or after Seplember 13, 1994:

The defendant shall not ille lly possess a controlled substance. The defendant shall refrain from any unlawful usc of a controlled
substance. The defendant s all submit to one drug test within 15 days of release fl’om imprisonment and at least two periodic drug gests
thereafter as determined by the court. 'I‘esti re uirements will not exceed submission o more than d drug tests per month during
the term of supervision, unless otherwise o ore by court.

n The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuso. (Chcck, if applicabie.)
m The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

` The defendant shall cooperate in the collection of a DNA sample ll'om the defbnda.nt, pursuant to section 3 oftlie DNA Anaiysis

kl E' ' ' A fO{lO nrs ttolSUSCsectln 563 7and3533d. _ `
|:| §§ dg en iali`ilthtiiiili:ot:tp y %vith iii,c mgauli'rements of the Se?i égfmdi(:z¥tc)gistration gail Notification Act (42 U.S.C. § 16901, et seq.) as directed

by the probation officor, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
was convicted ofa qualifying offense (Check if applicable.)

m The defendant shall participate in an approved program for domestic violence. (Check, if applicabie.)

If this judgment imposes a fine or restitution obli ation, it is a condition of supervised release that the defendant pa{y any such fine
or restitution that remains unpaid at the commencement o the term of supervised release in accordance with the Schetluie o Payments set
forth in this judgment

The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defenth shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3d the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, n'ainirig. or other
acceptable reasons;

6) thc defendant shall notify the probation officer at least ten days prior to any change in residence or employment

7) the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled sub stances, except as prescribed by a physician;

8] the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall riot associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall pe'rmit a.pro_bntion officer to visit him or her at any time atrhome or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation ofticer;

ll) the defendant shall notify the probation officer'within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

]3) as directed by the probation oft'icer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal

record or personal history_ or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirementl

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Case 3:12-cr-01848-.]AH 'Document 175 Filed 02/19/14 Page|D.957 Page 5 0f5

AO 2455 .ludgment in Criminal Case
Sheet 5 - Cn'rninal Monecary Penaltles

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DEFENDANT: Teresa R.ose l
CASE NUMBERI lZ-Cr-O l 848-]AH-2-]AH
RESTITUTION

The defendant shall pay restitution in the amount of $532,687 unto the United States of America.

immediately.
__’_‘_ as follows:

lt is ordered that the defendant pay restitution to Sand Canyon Corporation in the amount of $532,687 through the\Clerk,
U.S. District Court, Payment of restitution shall be forthwith During the defendant's incarceration, the defendant shall
pay restitution-through the Inmate Responsibility Program at the rate cf 50% of the defendant’s income, or $25.00 per
quarter, whichever is greater. The defendant shall pay the restitution during the defendant’s supervised release at the rate
of $250 per month. These payment schedules do not foreclose the United States from exercising all legal actions,
remedies,_and processes available to collect the restitution judgment

This sum shall be paid

Defendant shall be jointly and severally liable to pay restitution with co-defendants/co-conspirators for the same losses.
The presently known co-defendant/co-conspirators are Mary Annstrong, Teresa Rose, and William Fountain Cr. No.
lZ-lS4S-JAI-{ (S.D. Cal.)', and Justin Mensen, Cr. No. l2-l458-JAH (S:-D_. Cal.).

Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney’s Off':ce
of any change in the defendant ’s mailing or residence address, no later than thirty (30) days alter the change occ_urs.

The CO\JH has determined that the defendant does not have the ability to pay interest lt is ordered that:

X The interest requireth is waived.

The interest is modified as follows:

l2-er-01848-JAH~2-JAH

